         Case 2:24-cr-00084-TJS          Document 1       Filed 03/06/24      Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                  :          CRIMINAL NO. 24 -

               v.                         :          DATE FILED:

MATTHEW GABRIEL                           :          VIOLATION: 18 U.S.C.§ 875(c)
                                                     (Transmitting Threats in Interstate and
                                          :          Foreign Commerce – 1 count)


                                     INFORMATION

                                          COUNT ONE

THE UNITED STATES ATTORNEY CHARGES THAT:

           On or about August 3, 2023, in the Eastern District of Pennsylvania, defendant

                                     MATTHEW GABRIEL

knowingly, and with the knowledge that the communication would be viewed as a threat and for

the purpose of issuing a threat, transmitted in interstate and foreign commerce a communication,

that is, using the internet from his cellular phone, the defendant transmitted a threat concerning a

purported mass shooting attack to the Norwegian Police Security Service.

                    In violation of Title 18, United States Code, Section 875(c).




                                                      JACQUELINE C. ROMERO
                                                      UNITED STATES ATTORNEY
   Case 2:24-cr-00084-TJS                  Document 1                 Filed 03/06/24                 Page 2 of 2




                                     No._ _ _ _ _ _ _ _ _ _
                        UNITED STATES DISTRICT COURT

                                Eastern District of Pennsylvania

                                           Criminal Division

                    THE UNITED STATES OF AMERICA
                                                              vs.

                                            MATTHEW GABRIEL

                                            INFORMATION

                                       Counts
18 U.S.C.§ 875(c) - (Transmitting Threats in Interstate and Foreign Commerce – 1 count)

                                                    A true bill.

                             _____________________________________________________________________
                                                   Foreperson
                 Filed in open court this _________________________________day,
                       Of ________________________A.D. 20_____________
                   __________________________________________________________________________________________
                                                   Foreperson
                                        Bail, $___________________________
